Case 2:23-cv-02291-BMS Document 18 Filed 10/16/23 Page 1 of 4

UNITED STATES DISTRICT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA
PHILADELPHIA, PA 19106

James Coppedge, sui juris §
On behalf of : §
JAMES COPPEDGE TRUST §
%JAMES COPPEDGE §
52 BARKLEY COURT § CASE NO.
. DOVER, DELAWARE [19904] §
§ APPEARANCE BRIEF
PLAINTIFF § IN THE NATURE OF
V. § JUDICIAL NOTICE ©
§
U.S DISTRICT COURT FOR THE §
EASTERN DISTRICT OF PA §
§
DEFENDANT, § DATE: 10/10/2023
James Coppedge, §
Third Party Intervenor. §

NOTICE OF APPEAL FROM AN ORDER FROM US DISTRICT COURT FOR THE EASTERN DISTRICT
OF PENNSYLVANIA TO THE COURT OF APPEALS FOR THE EASTERN DISTRICT OF
PENNSYLVANIA. Case No.: 23-2391, Dated 09/18/2023 (See Attachment)

This case is based on negotiable instruments. Bonds were submitted for settlement and
closure of the accounting for Real Estate Taxes and Water Tax for private property to be paid in
full. The BONDS were accepted for value but not returned for correction although requested if
disputed. The case was closed without crediting the accounts and a Motion to reopen to
process and credit the accounts were denied.

Due to financial hardship, | request the form to fill out for possible payment for filing

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Jatnes/Coppedge, ae as

) If of JAMES COPPEDGE TRUST
MINISTER JAMES COPPEDGE
c/o 52 Barkley Court
Dover, Delaware near [19904]

EIN # XX-XXXXXXX

: 24-cy-03291- Document 18 Filed 10/16/23 Page 2 of 4
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JAMES COPPEDGE, :
. Plaintiff, : CIVIL ACTION
: NO. 23-2291
v. :
CITY OF PHILADELPHIA,
Defendant,

ORDER

AND NOW, this 18th day of September 2023, it is ORDERED that Plaintiff James
Coppedge’s Motion seeking to reopen this case is DENIED |! (ECF 14.) This case shall remain closed, °
BY THE rf T:

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Berle M. Schiller, J.

4 >». The Court dismissed Coppedge’s claims with prejudice pursuant to Federal Rule of Civil
~~ Procedure 41(b) and this case was closed on August 7, 2023. (ECF 13.) Rule 60(b) “allows a party to

circumstances including fraud, mistake, newly discovered evidence, or any reason justifying relief.”
Gonzalez v. Crosby, 545 U.S. 524, 529 (2005); see Fed. R. Civ. P. 60(b). But “Rule 60(b) motions
are viewed as ‘extraordinary relief which should be granted only where extraordinary justifying
circumstances are present.’” Kiburz v. Sec’y, U.S. Dep’t of the Navy, 446 F. App’x 434, 436 (3d Cir.
2011) (quoting Bohus v, Beloff, 950 F.2d 919, 929 (3d Cir. 1991)). There are no extraordinary
circumstances that require reopening this matter.

“Redemptionist” theory—“an indefensible tactic used by debtors attempting to avoid repayment of
their debts... .” Coppedge v.-PNC Bank, No. 18-2123, 2018 WL 1081 1876, at *1 n.1 (E.D. Pa. Nov.
21, 2018) (citing Monroe vy. Beard, 536 F.3d 198, 203 n.4 (3d Cir. 2008)). “‘[VJapor money,’
‘unlawful money,’ or ‘redemption’ theories of debt, have been uniformly rejected by the courts.”
Rivera v. Gatestone & Co., No. 23-35, 2023 WL 5530685, at *6 (D. Conn. Aug. 28, 2023) (citations
omitted).

If Coppedge continues to submit filings lacking any legal basis, the Court may consider
whether to use its inherent power to impose a pre-filing injunction as “an appropriate sanction for

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Verification
|, the undersigned, do certify that the foregoing is true and correct to the best of my
knowledge, understanding, and upon my unlimited commercial liability as Secured Party
Creditor.

CERTIFICATION OF SERVICE
|, the undersigned, do certified that | caused to be served the foregoing PETITION FOR APPEAL
to be served upon the following parties this 11 day of OCTOBER 2023 in the manner indicated
below:

By US pre-paid mail:

CITY OF PHILADELPHIA
ATTN: SAM SCAUVZZO, ESQ
ASSISTANT CITY SOLICITOR
LAW DEPARTMENT

1401 J.F. K. BLVD, Room 580
PHILADELPHIA, PA 19102

By: U.S. pre-paid mail:

U.S. DISTRICT COURT

FOR THE EASTERN DISTRICT OF
PENNSYLVANIA

ATTN: Clerk of Court

601 MARKET STREET
PHILADELPHIA, PA 19106

By: U.S. pre-paid mail:

U.S. COURT OF APPEALS
ATTN: Clerk of Court

601 MARKET STREET —
PHILADELPHIA, PA 19106

Authorized Representative
Without prejudice or recourse,
All rights are explicitly reserved
UCC 1-207.4/1-308

52 Barkley Ct

Dover, Delaware 19904

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UNITED STATES:
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